Case 1:20-cv-10484-GAO Document 66-20 Filed 11/01/22 Page 1 of 15
Case 1:20-cv-10484-GAO Document 66-20 Filed 11/01/22 Page 2 of 15

 

- Walpole Police Department Page: 1
Arrest Report 10/25/2018
EXHIBIT : (25/
Arrest @: 18WAL-218-AR c

   

 

\Pate/Time Reported: 10/34/2018 @ 1401
Arrest Date/Time: 10/24/2018 @ 1600
Booking Date/Time: 10/24/2018 @ 1817
Involves: Juveniles, Domestic Violence

OBTN: TWAP2Z01E00216
Court: WRENTHAM DISTRICT COURT
Court Date: 10/25/2018 @ 0900
Reporting Officer: Police Officer ANDREW KIEWLICZ
Booking Officer: Police Sergeant RICHARD KELLSHER

 

Bail For Court: WRENTRAM DISTRICT COURT Set: 10/24/2018 @ 2030
' PERSONAL RECOGNIZANCE 40.00
Personal Recognizance
Bail Set By: 3 CINDY KERR
Bail Paid:
Released: 10/24/2018 @ 2235

Signature: =

     

1 SULLIVAN, HOWARD 9 s Ww 47 ‘TE, 508-600-3996
165 KENDALL ST
WALPOLE MA 02061

iMilitary Active Duty: N

HEIGHT: 508 WEIGHT: 195 BAIR: BLACK BYES: BROWN
BODY: MEDIUM COMPLEXION: FAIR
BoB: PLACE OF BIRTH: BOSTON, MA
LICENSE NUMBER: ETHNICITY: NOT HISPANIC
PCF #: 00001465987 LOCAL ID: 2065-02177

(CONTACT INFORMATION]

 

 

Home Phone (Primary) §08-668-3996

[APPEARANCE]

 

 

GENERAL, APPEARANCE: ORDERLY
GLASSES WORN: YES

SCARS: SC NECK(SURGICAL SCAR)

 

 

 
Case 1:20-cv-10484-GAO Document 66-20 Filed 11/01/22 Page 3 of 15

 

« Walpole Police Department Page: 2
Arrest Report 16/25/2018

Arrest #: 1&WAL~218-AR
Call #: 18-17468

 
   

(FAMELY/EMPLOVMENT INFORMATION]

 

MARITAL STATUS: MARRIED

SPOUSE'S NAME: O'REILLY, HEATHER
FATHER'S NAME: SULLIVAN, EDWARD

EMPLOYER/SCHOOL: MANSFIELD HIGH SCHOOL

 

OCCUPATION: TEACHER

{RIGHTS/BOOZING CHECKS)

 

 

RIGHTS ADVISED BY: Police Sergeant RICHARD M KELLEHER DATE/TIME: 10/24/2018 @ 1818
PHONE USED: N
ARRESTEB SECURED: ¥ 10/24/2018 1919
ARRESTEE CELL #: 1

FINGERPRINTED: N
PHOTOGRAPHED: ¥
VIDEO: YES
SUICIDE CHECK: Performed
PRRSONS: StateéFederal
NCIC VEHICLE CRECK: Not Performed
INJURY OR ILLNESS: N

3
s

 

LOCATION TYPE: Residence/Home/Apt ./Condo Zone: 1
165 KENDALL ST
WALPOLE MA 02082

1 AGB g Misdemesnor

265/13A/8 : 265 23A
OCCURRED: 10/23/2018
WEAPON/FORCED USED: Personal Weapons (Hands/Feet/Btc)

 

   

REPORTING PARTY FP WwW 16 MOT AVAIL  § “OOqgguRRbas

 

EMPLOYER: WALPOLE HIGH SCHOOL
CONTACT INFORMATION:
Home Phone (Primary) $08~799-4685

 

 

 
 

 

Case 1:20-cv-10484-GAO Document 66-20 Filed 11/01/22 Page 4 of 15
. Walpole Police Department Page: 3
Arrest Report 10/25/2018

Arrest
Cail

#: L8WAL-219-AR
#: 1868-17468

 

WALPOLE MA 02081
DOB:

EMPLOYER: WALPOLE HIGH SCHOOL
CONTACT INFORMATION:

Work Phone (Primary)

3 SULLIVAN, HBATHER
165 KENDALL ST
WALPOLE MA 02083
DOB :

4 (GoNnoy,_ RPA >

CONTACT INFORMATION:
Home Phone (Primary)
§ CONLON, GLEWN

8 MISTY LN

WALPOLE MA 02082

CONTACT INFORMATION:
Home Phone (Primary)
6 GREELEY, BRIAN M

76 BROAD ST

WALPOLE MA 020812

CONTACT INFORMATION:
Home Phone {Primary}
7 GREELEY, JENNIFER b

76 BROAD ST Apt. #A

RALPOLE MA 02081-1744

CONTACT INFORMATION:
Cell Phone

508-660-7257

508-660-7257

PARENT

PARENT

781-799-4685

PARENT

508-404-5035
PARENT

§097289724

PARENT

6179437495

44

49

s5

33

35

NOT AVATLi

781-799-4689

508-404-5035

$087289724

6179437495

 

 
Case 1:20-cv-10484-GAO Document 66-20 Filed 11/01/22 Page 5 of 15

 

‘ Walpole Police Department
Arrest Report

Arrest #: 18WAL-218-AR
Call #¢: 18-17468

Page: 4
10/25/2018

 

i

 

REKTSEKERHTAVRECRAAKSAR ERE RKEEEEE

#**CONFIDENTIAL VICTIM REPORT***
RRKEREK KS HHT Kees ree eee Teese

 

SULLIVAN, QED FE u as NOT AVAIL

DOS; ‘ARMs
INJURIES: Apparent Minor Injury

RTANICITY: Not of Hispanic Origin

RESIDENT STATUS: Resident

VICTIM CONNECTED TO OFFENSE NUMBER(S}: 1

RELATION TO; SULLIVAN EDWARD Child

 

 
Case 1:20-cv-10484-GAO Document 66-20 Filed 11/01/22 Page 6 of 15

 

: Walpole Police Department Page: i
PERSONNEL NARRATIVE YOR POLICE OFFICER ANDREW T KIEWLICZ
Ref: LSWAL-218-AR

Entered: 10/25/2018 @ 0739 Eatry ID: Ax70
Modified: 10/25/2018 @ 0832 Modified ID: AKTO

 

 

This is an initial report by Police Officer ANDREW T KIEWLICZ. {t may or may not contain all facts known to this
officer or to other members of the Walpole Police Department. Unless otherwise specified, all streets and ways
referenced within this report are public ways located within the Town of Walpole.

The victim's identity is as follows: SULLIVAN, Gis. dob: GEIB, accross: SEE,
age: 15. The victim's true identity is known to the Commonwealth; to protect the

victim's Identity for the remainder of this report, the victim will be referred to herein as “victim”.

On 10/25/18 at approximately 1400, School Resource Officer Thomas Hart informed Detective Sgt. Kelleher,
Detective Benner, and | of a past domestic assault involving a student at Walpole High School. SRO Hart stated he
was informed by Vice Principal Lee Tobey that the victim arrived at school today with bruises on both of her cheeks.
Lee told SRO Hart that the victim told her friend, QQ that the bruises were caused by her father, Edward
Sullivan.

Detective Benner and | responded to the high school. Upon our arrival at-the high school we met with Vice
Principal Tobey. Lee stated she was made aware of the injuries to the victim by the victim's friend, QR as well as the
school nurse Rachel Jackson. Lee stated after hearing about the injuries, she called the victim down to her office to
speak with her. Lee state the victim said the bruising on both cheeks was a result of her younger brother falling out of
bed and hitting her in the face. Lee stated the victim said she shares a room with her 7-year-old brother @@j and he
tends to fall out of bed and sleep walk. Lee stated the victim insisted her story was the truth.

After speaking with the victim, Lee brought spoke to her friend ee. BP said she was at lunch with the victim
when she first noticed the bruising. said she asked the victim what happened and the victim stated she did not
want to talk about it. The victim told if she said anything it could destroy her family. asked her again about
the bruising and the victim stated her father struck her because of an issue with her grades. The victim told R that
she could take because she only has 3 years left in the house and her father doesn't hurt her other siblings.

Lae stated after speaking with(igis she Informed DCF and filed a S1A. Lee spoke with DCF Intake employee Brian
Guzzi and he stated they would be responding immediately to the high school. While Detective Benner and | were
speaking with Lee, SRO Hart had brought the victim into the work room in the main office. Detective Benner also
notified the District Attorney's Office. DCF and the DA's Office requested the victim’s brothers and sister be held at
school until it was determined the home was safe. The victim's brothers, @ip,Sullivan and @9QBEA Sullivan, were
held at the Fisher School. The victim's sister, (ipultivan, had gone to a friend‘s house.

DCE worker David Skutul arrived at the bigh school to conduct the interview with the victim. The victim was
brought into Lee's office and was interviewed by Skutul. Detective Benner was also present in the room. Please see
Detective Benner's report for further information.

After speaking with the victim, Detective Benner and | went to Fisher School with Skutul to interview they
and @@@9RM. Skutul interviewed both gil and( Brendan in the main office of the school. Please see Detective
Benner's report for further information, After speaking with both (igs and QM, Skutul then spoke with B® at
her friend's house. Detective Benner and { returned to the police station to speak with Edward.

Edward was brought into the interview room. Detective Benner informed Edward of his Miranda rights and
Edward stated that he wished to speak with us. Edward stated that he never hit the victim or any of his other
children. Edward stated the he would never do that and he was not that type of person. Edward stated he did not

 

 
Case 1:20-cv-10484-GAO Document 66-20 Filed 11/01/22 Page 7 of 15

 

; Walpole Police Department Page: 2
PERSONNEL NARRATIVE FOR POLICE OFFICER ANDREW T KIEWLICZ
Ref: LOWAL-218~AR

Entered: 10/25/2018 @ 0739 Zatry ID: AK7G
Modified: 10/25/2018 @ 0832 Modified ID: AK70

 

 

 

notice anything out of the ordinary last or this morning. Edward stated he did not observe any bruising on the face of
the victim. Edward stated last night he had a disagreement over a cell phone charger with the victim but it was
nothing major. Edward said he did receive a text message from the victim at approximately 1301. He stated the text
message was strange and was out of the blue. Edward showed Detective Benner and I the text on his cell phone. The
text was from the victim requesting Edward move Colin's bed because he knocked a water bottle on her last night.
This text was sent after the Incident was reported by the victim's friend.

While we were speaking with Edward, Kyle came into the station and was interviewed by Detective Set. Kelleher.
Please see Detective Kelleher's report for further Information.

Based on the facts and circumstances of this investigation, Edward was placed under arrest and charged with
domestic assault and battery (265/134).

Respectfully submitted,

 

- Police Officer ANDREW T KIEWLICZ
Walpole Police Department

 

 
Case 1:20-cv-10484-GAO Document 66-20 Filed 11/01/22 Page 8 of 15

 

: . Walpole Police Department Page:
SUPPLEMENTAL NARRATIVE FOR POLICE DETECTIVE MICHAEL 8 BENNER
Ref: 1§WAL~218-AR

Entered: 10/24/2018 @ 1928 Entry ID: MB71
Modified: 16/25/2018 @ 0828 Modified ID: MB71

i

 

 

On Wednesday October 24, 2018 at approximately 1400 hours | Detective Benner was asked to assist with a past
domestic assault and battery involving a juvenille.

Officer Thomas Hart who Is the school resource officer stated that he was informed by Vice Principal Lee Tobey that
a student Gal Sullivan had bruising on both of her cheeks and had reported to another student that her father had

caused the bruising.

The victim's identity is as follows QED Sullivan FL, TSSRERNENENS). The victim's

identity is known to the Commonwealth, for the remainder of this report the victim will be referred to as “victim.”

Upon arrival Officer Kiewlicz and myself spoke to Vice Principal Lee Tobey. Lea stated that she was made aware of
the brulsing on the victim's face after another studen Ryieeealamo 7-25-2002 reported to her and the school nurse
Rachel Jackson that the victim stated that the brulsing was caused by her father Edward Sullivan (see Detective Sgt.
Kelleher'’s narrative), :

Lee stated that after becoming aware of the situation she called down the victim and asked her about the bruising.
The victim stated that the bruising on both her cheeks was caused by her brother@j Sullivan age 7 falling off of his
bunk and falling on her last night. When asked if this story was truthful the victim stated that it was.

After speaking to the victim Lee spoke to the first complaint witness Qaqami— Qua stated that she was at lunch
with the victim and noticed the bruising on both her cheeks. When asked what had occurred the victim stated that she
did not want to talk about it because it would destroy her family. When asked further about this the victim stated that
it was her father Edward Sullivan who had struck her. She stated that it was due to an issue involving her grades which
caused her father to be upset with her. She stated that she could handle it because she only had three years left living
in the home and that her father only hits her, not her brothers and sister.

Upon hearing this information, | spoke to Suzanne McDermott and Kristin Collins from the District Attorney's Office
and made them aware of the situation. Lee Toby also filed a 51a with DCF (Brian Guzzi) which was forwarded over to
the District Attorney's Office. DCF stated that they would send out an immediate response worker to assess the
situation and interview involved parties (David Skutul). They also stated that the three other children in the household
should remain at school until parties were interviewed and a determination was made if the household was a safe
environment . Lee Tobey spoke to faculty at Fisher School and hadw@{aze 7) and QM, Sullivan (age 5} remain at
school. Officer Thayer went to Fisher to assist. Another sibling i (age 12) was on the bus headed to a friend's house.

DCF worker Brian Skutul arrived and interviewed the victim. | was also in the room along with Vice Principal Lee
Tobey. The victim stated that she currently shares a room with her younger brother age 7. She stated that last
night while sleeping, Goin fell off of the top bunk and landed on her. She stated that he also caused a water bottle to
fall on her while she was sleeping which caused the marks on both sides of her face. She stated that there had been no
other altercations and that her brother falling is what caused her bruising. ! could see bruising on both of the victim's
cheek bones, The bruises appeared fresh and recent{ When asked If her father had ever struck her physically. she
stated that he spanked her once when she was 6 years Old after she was being unsafe crossing the street. The bruising
was only on both of her cheeks not on her nose which seemed odd if someone or something {a water battle} fell on

you.
We then traveled to Fisher School where Skutul spoke with @jjip (7) and MERA (5). Both boys did not report

 

 
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‘ Walpole Police Department Page: 2
SUPPLEMENTAL MARRATIVE FOR POLICE DETECTIVE MICHAEL 8 BENNER
Ref: L8WAL-218-AR

Batered: 10/24/2018 @ 1928 Eatxry ID: MB71
Modified: 16/25/2018 @ 0828 Medifiad ED: MB71

 

 

anything significant occurring last night and stated that they had never seen their father strike the victim. @gge stated
that he might have seen the bruising on his sister's face this morning but believed they were from a football injury.

When asked about falling off of the bunk WjiB reported that he did not fail off of the bunk last night, that the top
bunk was not made with sheets and that he had slept on the bottom bunk. When asked if he fell on his sister the
victim fast night or dropped anything on her, he replied no.

Brian Skutul then spoke with WB Sullivan (age 12) “Wigelso reported nothing significant occurring last evening and
stated that no one gets hitinherhome. , -

At the police station Officer Kiewlicz and { spoke with Edward Sullivan. Edward signed his Miranda Rights indicating
that he wished to speak to us. Edward stated that he never struck the victim and does not hit his children. He stated
that he did not notice any bruising on the victim’s cheeks when he left for wark this morning at 0630 hours. He
reported a minor disagreement last night with his daughter involving a phone charger, but nothing significant. Edward
coutd not speculate how the victim got the bruising on both her cheeks under her eyes.

Edward stated that we could look at his phone and | did read a text message from his daughter to him at
approximately 1301 hours which asked her father to move GBR bed due to the fact that he knocked a water bottle
down which fell on her iast evening. This text message appeared odd due to the fact that this came in the middle of

the day at approximately 1301 hours after the victim spoke to her friend WEEE and informed her that her father
had struck her, which caused her to be called down to Vice Principal Toby's Office. Lee Toby stated that she was told
by the victim about her brother falling off the bunk and striking her at approximately 1230 hours.

At approximately 1730 hours EEIEEEMBadid come to the Walpole Police Department where she was interviewed
by Det. Sgt. Kelleher. In this interview tS confirmed that the victim confided in her that her father had struck her
causing the bruising on her face (see Det. Sgt. Kelleher’s narrative). Oue to these facts and circumstances the decision

was made to place Edward Sullivan under arrest for Domestic assault and battery.

Respectfully Submitted
Detective Michael Benner

Walpole Police Department 5

 

 
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Walpole Police Department Page: 1
SUPPLEMENTAL NARRATIVE FOR POLICE SERGEANT RICHARD MN KELLEEE
Ref: L8WAL-218-AR

Butered: 10/24/2016 @ 2044 Entry ID: REGS
Modified: 10/25/2018 @ 0126 Modified ID: BK63

 

 

The victim's identity is as follows: SUE, GE cD, address: Mas KEND AED,
ease age: 15. The victim's true identity is known to the Commonwealth; to protect the
victim's identity for the remainder of this report, the victim will be referred to herein as “victim".

On October 24, 2018, I was working as the Detective Supervisor assigned to the 8:00am to 4:00pm shift.
At approximately 2:00pm, School Resource Officer Thomas Hart had reported to Detective Benner and I that
Walpole High School Vice Principal Lee Tobey informed him the victim came to school today with bruising
on both of her cheeks. Ms. Tobey subsequently contacted The Department of Children and Families (DCF) and
filed a SIA report as part of her duties as a mandated reporter. DCF indicated that they were initiating an
emergency response and that an investigator would be responding to Walpole High School to interview the
victim. The victim was accompanied by SRO Hart to the main office of the high school where he waited with
her until the DCF investigator arrived.

Detective Benner and Officer Kiewlicz responded to the high Shoo and spoke with Ms. Tobey. She
stated that she learned of the victim's injuries today after the victim disclosed to a friend, identified as
(, WANNA that the injuries were a result of physical abuse by her father, later identified as Edward
’ Sullivan (@UGHEBIMMMA). Ms. Tobey stated that she called the victim down to her office to ask her about her
. injuries and to ensure that she was safe in her home. Ms. Tobey stated that the victim indicated that she was
not physically abused by her father but had that her 7 year old brother had fallen off a bunk bed and hit her
waiclt caused the i injuries. oo,

At this point, Detective Benner had been in communication with the District Attorney's Office and
information was relayed to them that the victim has three younger siblings who reside in the family home with
her and her parents. The DA's Office requested that each of the students remains in their respective schools
until DCF could complete their investigation and to ensure their safety. Officer Thayer responded to the Fisher
School to stay with two of the victim's siblings identified as Wik and WRB Sullivan (age 7 and 5
respectively). The victim's sister, Gp Sullivan (age 12) had already left Johnson Middle School to stay with a
friend who resided at 76 Broad St in Walpole. Detective Griffin responded to this location where he spoke
with her friend's father, identified as Brian Greeley, and explained the need for her to remain at their home
until further notice. Mr. Greeley agreed to let Qi stay in his home until the situation could be resolved.

The victim had stated f SRO Hart that her father is a teacher at Mansfield High School and usually

| returns home from work at 3:30pm. Given the fact that the children have all be held in their respective schools
‘ until the investigation is complete, Mr. Sullivan will likely Ge inquiring as to where his children are when they
do not return home at the usual time. As a result, Detective Tolland responded to the area of his home to watch
him to ensure he does not come to one of the schools while the investigation is ongoing. Officer Crown
remained in the area as well to assist.

DCF Interview with the victim

The DCF case worker, later identified as David Skutul responded to Walpole High School where he
conducted an interview with the victim in the presence of Detective Benner. The victim also stated to the DCF
investigator that she shares a bedroom with her younger brother and received the injuries to her face as a result
of her younger brother falling off the bed. She also stated that when her brother had fallen from the bed onto

 

 
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‘ . Walpole Police Department — , Page:
SUPPLEMENTAL WARRATIVE FOR POLICE SERGEANT RICHARD M KELLEEE
Ref: L8WAL-218-AR

Entered: 10/24/2018 @ 2044 Batry IDs RK63
Modigied: 10/25/2018 @ 0126 Modified ID: RK63

2

 

 

her, a water bottle also fell and cause some of the injuries to her face. She denied that her father had physically
abused her in any way. ;

At this time, Detective Tolland had notified me that Mr. Sullivan was at the family home at 165 Kendall
St. He stated that the school bus which normally transports his children home had arrived at the bus stop and
Mr. Sullivan appeared to be agitated that the children were not on the bus. Shortly thereafter, Detective Tolland
had radioed that Mr. Sullivan had left the home and tumed left onto School St. towards East St. During this
time we had received information that he had contacted Fisher School inquiring as to his children’s
whereabouts but had hung up before he was made aware of why his children were still at school. Dispatcher
Rinn also stated that she received a call from Mr. Sullivan on the Walpole Police Department's business line, .
however he hung up abruptly. Given the nature of the alleged crimes and what appeared to | be his erratic

a behavior by making phone calls and hanging up, J instructed Detective Tolland to stop Mr. -. Sullivan anid detain -
him. The purpose of the stop was to protect the integrity of the investigation by preventing Mr. Sullivan from

going to the schools where his children were and potentially interfering with the investigation and more
importantly to ensure the children were safe until the investigation could be completed. Detective Tolland and
Officer Crown were able to stop him on School St near the intersection of Stone St.

DCF Interview with Colin Sulitvan

 

Mr. Skutul arrived at the Fisher School at this time to speak with (J, who has been identified by the
victim as the individual who fell out of the bunk bed last night causing her injuries. Willd spoke with Mr.
Skutul at Fisher School in the presence of Detective Benner. Officer Kiewlicz was also on scene. GA stated
that he did not fall out of bed last night and went on to explain that the top bunk was not made so he slept on
the bottom bunk. He also stated that he did not drop a water bottle on the victim last night either.

Arrest of Mr. Sullivan

At this time, given the fact that the statement that the victim gave to Ms. Tobey that her injuries were
sustained from her brother falling on her last night was‘not corroborated by the sibling in question during an -

interview with DCF coupled with the fact that the victim had disclosed to a friend-that she-had sustained her

injuries from when her father struck her led me to believe tifat probable cause existed that Mr. Sullivan had

physically abused his daughter the previous evening. I instructed Detective Tolland to place Mr. Sullivan under” 3

arrest and transport him back to the station. Mr. Sullivan was escorted into the detention area until Detective . 9 >

Benner and Officer Kiewlicz arrived back at the station and he was then brought into the interview room
outside the detective's office. He agreed to be interviewed which was audio and video recorded after waiving -
his Miranda rights. (see Detective Benner's report) Upon completion of the interview, I booked Mr. Sullivan

and notified the bail commissioner of his arrest. Clerk Magistrate Cindy Kerr set bail at personal recognizance - “

under the condition that he not return to 165 Kendall St or have any contact with the victim until his
arraignment tomorrow in Wrentham District Court. Mr. Sullivan was released from custody at 10:30pm.

Interview with Kyle Conlon -
Once back at the station, I contacted QR mother, Kera Conlon. I explained the situation to Ms.

 

 
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Walpole Police Department Page: 3
SUPPLEMENTAL NARRATIVE FOR POLICE SBRGEANT RICHARD M KELLEEE
Ref: 18WAL-218-AR

Entered: 10/24/2018 @ 2044 Entry ID: RRe2
Modified: 10/25/2018 @ 0126 Modified ID: RE&3

 

 

Conlon and requested to interview her daughter to which she agreed. At approximately 5:15pm, Ms. Conlon
came to the station with her daughter and her husband, Glenn Conlon. I brought them into the interview room
located off the lobby of the station and explained tod that I would like to speak with her about what the
victim had told her today at school. (jj stated that she was at lunch with the victim and another friend
WER, She said that she noticed bruises on both sides of her face near her cheeks. Mp asked her what
happened to which she replied "nothing". QP stated that she was concemed because the bruises appeared to
be significant so she pushed for more information which the victim stated that she wanted her to let it go and
that “this could really hurt my family" YR then asked if someone in her family hit her and the victim said
"yes". QB asked if the victim's father had hit her and she replied “yes". The victim stated that she "would only
have to put up with it for a few more years" meaning that she would be of the age that she could move away
and remove herself from the situation. Oy then asked about the victim's siblings and the victim stated "he
doesn't hit them". @jpstated that she was not sure exactly when the abuse took place but seemed to believe
that it was sometime last night because she just noticed the bruises on her today. She also stated that she was
unsure of how the victim was assaulted, but seemed to believe that the victim's father Struck the victim with,his
hands and not with a weapon. jj stated that she had seen a bruise on the victim's face in recent weeks and
asked the victim about it. The victim stated that she sustained that injury “because of her grades" but did not
elaborate any further about the incident.

At this point, Gy stated that OR had suggested that they bring this to the attention of the school nurse,
Rachel Jackson, with whom they have a good relationship. The victim did not want @j to tell anyone about
what she disclosed to her, however {ff wanted to report the incident to school staff because she was worried
about her friend. Upon speaking with Ms. Jackson, they were directed to the victim's guidance councilor, Mr.
O'Toole. She stated that they told him about the allegation as well and he notified Ms. Tobey, (jp stated that
she was called down to Ms. Tobey’s office shortly thereafter and she told Ms. Tobey about what the victim had
disclosed to her during lunch.

QPahad also stated during my interview with her that her friend SIBIBy had sent an “SOS" report to

the school because she was concerned about the victim. More investigation in regards to that report will be .
necessary.

Respectfully Submitted,

Detective Sergeant Richard Kelleher
Walpole Police Department

 

 
Case 1:20-cv-10484-GAO Document 66-20 Filed 11/01/22 Page 13 of 15

 

Walpole Police Department Page: @
SUPPLEMENTAL NARRATIVE FOR POLICE SERGEANT RICHARD M KELLEHE
Ref: LEWAL-218-AR

Entered: 20/24/2018 @ 2044 Entry ID: BR63
Modified: 10/25/2018 @ 0126 Modified ID: RK63

 

 

 

 

 

 
Case 1:20-cv-10484-GAO Document 66-20 Filed 11/01/22 Page 14 of 15

 

Patited on,

a

Walpole Police Department

Arrest Number: 18WAL-218-AR
Edward S Sullivan Arrested on: 10/24/2018 Time: 1600

 
  

10/24/2018

 

 

 

 

have been advisec and understand my rights under
echusatts Law which were given to me as follows:

certify thar cf
astitucior and Mas

 

  
 
 

1. You have the righc to remain silent:

é. Anything you say can ard will be usec agains: you in a courc of law.

2, You have the right to tonsule witn a lawyer gefore any ge estioning and ta nave
yeur lawyer present « woth us during questioning.

4. Z£ you cannot afford tc Rize a Lawyer, one will be appointed te represen: you. Dy
the Tommonwealcth.

3. You may waive, ug right to remain silent ana your rigmn tc
nave an questioning.

Bb. PE yo: “des ai have ¢ne raght to stco talking at any time.

 

>

se: 1OCZ4/N tome: 720% |
sare: (0¢24/9 rims, 7° LAE

 

 

 

 

witness

 

 

 
Case 1:20-cv-10484-GAO Document 66-20 Filed 11/01/22 Page 15 of 15

   

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VARTMENT
ry Ww
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am ars old.

dwilic 2 . n
‘ Se

 

 

inst me in court.

ting any questions, and | may have

i
i be provided by the Commonwealth -

give up) my right to counsel and my

« If! decide to talk to the police, | still have the right to stop talking at any time and for any
reason.
wo

Please check the following that apply: | “| am willing to speak with the police officer now.

 

 

 

am not willing to speak with the police officer now.

Ltn. am aware my statements may be audio/video recorded.
Se Time) (Date)

~~ (Signature of Consenting Party)

 

 

 

 

 

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Rev 2018-06
